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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF LOUISIANA


    THE MCDONNEL GROUP, LLC

           Plaintiff,
                                                       Case No. 2:18-cv-01380-JTM-JCW
    v.                                                 c/w 19-2227; 19-2230
                                                       (Applies to No. 18-1380)

                                                       Section: H            Division: 2
    STARR SURPLUS LINES INSURANCE
    COMPANY AND LEXINGTON INSURANCE Judge: Jane Triche Milazzo
    COMPANY
                                    Magistrate Judge: Joseph C. Wilkinson
        Defendants.


                        NOTICE PURSUANT TO ORDER [ECF NO. 157]
 
          Defendants Starr Surplus Lines Insurance Company (“Starr”) and Lexington Insurance

Company (“Lexington”) (collectively “Defendants”), by and through counsel, file this Notice

Pursuant to Order [ECF No. 157] as follows:

          1.     On April 3, 2019, the Court entered an Order [ECF No. 157] requiring Otis Elevator

Company (“Otis”) to comply with the subpoena duces tecum served upon it by April 17, 2019.

          2.     The Order provided that “as a result of Otis’s contemptuous conduct, Otis will be

required to pay Starr and Lexington their reasonable attorney’s fees and expenses incurred arising

from that contemptuous conduct. To recover those amounts, however, Starr and Lexington must –

no later than April 23, 2019 – file, serve Otis and all other parties, and notice for submission

thereafter a motion with supporting evidence, in compliance with Local Rule 54.2, to set the dollar

value of sanctions to be awarded.” Order, at p. 2.

          3.     Defendants served a copy of the Order upon Otis on April 8, 2019. See Notice, ECF

No. 159.
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       4.      On April 17, 2019, counsel for Otis informed undersigned counsel that he was that

day mailing responsive documents. Undersigned counsel received a flash drive containing said

documents on April 22, 2019.

       5.      Defendants are currently processing the documents for review.

       6.      Assuming Otis has complied with and produced all documents responsive to the

subpoena, Defendants hereby give notice that they will not seek attorneys’ fees from Otis.

       7.      However, after processing and reviewing the aforementioned documents from Otis,

if Defendants ascertain that Otis has not fully complied with the subpoena and has failed to produce

all responsive documents, Defendants reserve the right to file a Motion seeking sanctions and

attorneys’ fees from Otis.

       Respectfully submitted, this the 23rd day of April, 2019.

                                              Starr Surplus Lines Insurance Company
                                              and Lexington Insurance Company
        
        
                                              BY:    /s/ Lee Ann Thigpen
                                                     Lee Ann Thigpen

OF COUNSEL:

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Attorneys for Defendants Starr Surplus Lines
Insurance Company and Lexington Insurance Company


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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing

was filed electronically with the Clerk of the Court using the CM/ECF system. Notice of this filing

will be sent to counsel of record by operation of the Court’s electronic filing system. A copy of

this filing has also been served upon Otis Elevator Company via U.S. Mail and e-mail to the

following recipients:

       John K. Nieset, Esq.
       CHRISTOVICH & KEARNEY, LLP
       Suite 2300, Pan American Life Center
       601 Poydras Street
       New Orleans, LA 70130-6078
       jknieset@christovich.com

This the 23rd day of April, 2019.



                                             /s/ Lee Ann Thigpen
                                             Lee Ann Thigpen
 




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